Case 2:17-cv-13018-LJM-SDD ECF No. 1, PagelD.1 Filed 09/13/17

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

IRMA GOLDEN,

Plaintiff,
VS.

UAW-CHRYSLER NATIONAL TRAINING CENTER,

Defendant

Mary Anne M. Helveston (P37653)
HELVESTON & HELVESTON, P.C.
Attorney for Plaintiff

65 Cadillac Square

Suite 3327

Detroit, Michigan 48226

(313) 963-7220
mhelveston@helveston.com

COMPLAINT AND JURY DEMAND

There is no other civil acion between these parties arising out of the
same transaction or occurrence as alleged in this complaint pending in
this court, nor has any such action been previously filed and dismissed
or transferred after having been assigned to a judge, nor do J know of
any other civil action, not between these parties, arising out of the
tansaclion or occurrence alleged in this complaint thai is either
pending or was previously filed and dismissed, transferred, or
otherwise disposed of after having been assigned to a judge in this
court.

/sf_ Mary Ane M. Helveston
Mary Anne M. Helveston (P376523)

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COMPLAINT AND JURY DEMAND

NOW COMES Plaintiff, IRMA GOLDEN, by and through her attorneys, HELVESTON
& HELVESTON, P.C. and for her complaint against the Defendant, UAW-CHRYSLER
NATIONAL TRAINING CENTER, states as follows:

INTRODUCTION

1. This is an action to enforce rights pursuant to the Age Discrimination in

Fmployment Act (ADEA), 29 USC 621 et seq,, and the Equal Pay Act (EPA), 29 USC 206(d).
PARTIES AND JURISDICTION

2. Plaintiff IRMA GOLDEN, resides in Superior Township in Washtenaw County,
Michigan.

3. Defendant, The UA W-Chrysler Skill Development & Training Program d/b/a the
UAW- CHRYSLER NATIONAL TRAINING CENTER (“NTC”), is a training center operated
jointly between the union and Fiat Chrysler Automobiles US LLC, an automotive company
based in Auburn Hills, Michigan, and successor to the automotive company formerly known as
Chrysler Group LLC, known as “FCA,” doing business in Michigan.

4, At all times relevant to this complaint, Defendant , UAW- CHRYSLER
NATIONAL TRAINING CENTER, (NTC”) was Plaintiff, IRMA GOLDEN’S employer and
IRMA GOLDEN was Defendant’s employee.

5. The events giving rise to this claim occurred in Wayne County, Michigan and
Macomb County, Michigan.

6. Jurisdiction in this Court is proper pursuant to 28 U.S.C. § 1331.

7. The amount in controversy exceeds seventy-five thousand dollars ($75,000.00)

exclusive of interest, costs and attorney fees.
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BACKGROUND FACTS

8. Plaintiff holds a Bachelor of Business Administration degree earned from from
astern Michigan University in 1984, studied for two years in the Masters Program at Central
Michigan University, earned a Train the Trainer Certification from Macomb Community College
and received a Diversity Training Specialist Certification, and an EAP Certification after in-
house training from Defendant.

9, Plaintiff, a 60 year old woman, began her employment with Defendant on
February 15, 1991 in security and, after six months, was promoted to the NTC Professional Staff.

10.  Defendant’s joint programs include: Employee Participation Program (EPA),
Diversity Awareness, Sexual Harassment Prevention Program, Sexual Harassment Claim
Investigation Program, Respectful -Workplace Program, Employee Assistance Program (EAP),
Workplace Violence Prevention Program, Critical Incident Response Program, Paid Education
Leave Program (PEL), Equal Application of Agreement Program (EAA), Health and Safety
Program, Local Joint Facilitators Program, Women’s Program, Future Planning Program, Admin
for Technical Education Development System (TEDS), Admin for Learning Management
System (LMS), various miscellaneous assignments including Skilled Trade Rationalization
Program, March of Dimes, Liason to Chrysler Elementary and Cody High School.

11. In 1991, Plaintiff was promoted to the NTC Professional Staff where she provided
skilled support and assistance to numerous NTC joint programs

12. From 1992 to 1995, Plaintiff served as a Communication Specialist supporting
NTC Joint Programs and the Communication Department.

13. In1995, Plaintiff became a Training Specialist, an unsalaried position, whose

responsibilities included design/development of new programs, evaluation and update of existing
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assigned training programs, team support for ongoing program conferences, conducting training
for UAW represented and management employees, new hires at NTC, World Class
Manufacturing Academy (WCMA) and FCA plant facilities and regional training centers around
the country, training new trainers, coaching, evaluating other trainers and coordinating and
leading round tables.

14. On July 20, 2005, Plaintiff was recognized for wearing many hats, supplying
support for the joint programs and being a key team person who “surpasses any expectation we
envisioned.”

15. Between 2003 and 2006, plaintiff talked with direct reports Decoris Glenn, then
Associated Co-director, and James Davis, then Executive Co-Director, about unequal pay and
overtime pay which she had not been receiving.

16. In 2007, she discovered that a male employee with the same job responsibilities
was being paid considerably more an hour than she was.

17. Between 2006 and 2017, over 20 younger people were hired and/or assigned to
conduct training for NTC programs, all of whom received higher hourly pay than Plaintiff.

18. In 2012, Plaintiff met with her then-direct report, Virdell King, to request that her
unequal pay be adjusted to match others in her job category.

19. In 2013, when Plaintiff met with Patrick Gibson, her direct report, to discuss an
unequal pay increase, he responded by threatening to lay her off.

20. Although she met with Virdell King again in 2013 and 2014, no adjustment was
made in her pay.

21. Plaintiff also met again with Virdell King and with former UAW Vice President,

General Holifield in 2014 to discuss the issue of her unequal pay.
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22. In 2012 and 2014, Plaintiff met with Keith Mickens, then-Executive Co-Director
of NTC, to request that her pay be adjusted to match others in her job category and each time
was promised a pay increase.

23. Over the years, Plaintiff had numerous discussions with other management
employees about raising her hourly pay but, although they promised to adjust her pay, no action
was ever taken.

24, In July 2015, Plaintiff was removed from the team without explanation.

25. All of Plaintiff's job responsibilities were reassigned to a much younger woman,
Michele Adams, whom she had trained and with whom she had worked side-by-side.

26. Plaintiff was then assigned data entry work, menial work for which she was over-
qualified.

27. In October 2015, Coordinator Delrico Lloyd, told her that management had
advised him that they wanted people to retire and asked her if she had thought about retiring.

28. Concerned that she had been demoted because of her age, Plaintiff informed her
program counterpart, Helen Scott, FCA Executive, of this conversation.

29. Between November and December 2016, Plaintiff met with Keith Mickens,
former Executive Co-Director, to discuss the lack of progress in addressing her requested review
of her pay status and her request for over-time pay and was told by him that it had been
discussed and acknowledged with Mike Brown, (retired FCA Executive) but he had “kicked the
can down the road.”

30. On December 11, 2016, Plaintiff met with Coordinator Delrico Lloyd to inquire
as to why she had been eliminated from the team and was told that she had done nothing wrong,

that the directive to remove her from her responsibilities had come down months before.
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31. In January 2016, when Plaintiff met with FCA Executive Lamar Hatris regarding
her removal from the team, she was told that he had discussed the issue with Miguel Foster,
UAW Executive, and was told that the directive had come from above him.

32. At that time, she learned that Defendant was offering incentives to leave to older
employees in an attempt to get them to retire and replace them with younger employees.

33, Depressed by her greatly reduced status and humiliated by having to perform job
duties for which she was over-qualified, Plaintiff felt that she had no alternative but to submit her
resignation, effective May 31, 2017.

COUNT I:
AGE DISCRIMINATION

34. Plaintiffs hereby incorporate by reference paragraphs one (1) through thirty-three
(33) as if set forth more specifically, paragraph by paragraph.

35. The Age Discrimination in Employment Act of 1967 (ADEA) prohibits
employment discrimination on the basis of age. 29 USC 621 et seq.

36. | Under the ADEA an aggrieved individual must file a charge of discrimination
with the EEOC.

37. Plaintiff filed a charge of discrimination with the EEOC and received her Right to
Sue letter dated June 12, 2017. (see attached)

38.  Atall times relevant to this Complaint, Defendant was Plaintiff’s employer and
Plaintiff was Defendant’s employee.

39. Defendant violated the ADEA when it paid Plaintiff a lower hourly wage than

similarly situated younger employees.
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40. Defendant also violated the ADEA when it removed Plaintiff from the team and
assigned all of her job responsibilities to a much younger employee.

41. Defendant also violated the ADEA when it assigned Plaintiff to menial jobs,
making her working conditions so intolerable that she quit her job, a constructive discharge.

42. Asadirect and proximate result of Defendants’ violation of the ADEA, Plaintiff
has suffered loss of income, damage to her professional reputation, depression, emotional
distress, mental anguish, humiliation and embarrassment, and the physical manifestations
thereof, and will so suffer in the future.

COUNT II:
RETALIATION

43. Plaintiff hereby incorporates by reference paragraphs one (1) through forty-two
(42) as if set forth more specifically, paragraph by paragraph.

44. | The ADEA prohibits retaliation for opposing any unlawful practices under the
Act. 29 USC 623(d).

45. Anemployee need not file a formal complaint to be protected from retaliation
since the assertion of statutory rights is sufficient to trigger protection under the ADEA.

46. Defendant violated the ADEA by retaliating against Plaintiff for her numerous
complaints that her hourly pay was lower than that of similarly situated younger employees,
when it removed her from the team, gave her job responsibilities to a much younger employee
and assigned her menial clerical work for which she was over-qualified.

47 Asadirect and proximate result of Defendants’ retaliation in violation of the

ADEA, Plaintiff has suffered loss of income, damage to her professional reputation, depression,
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emotional distress, mental anguish, humiliation and embarrassment, and the physical
manifestations thereof, and will so suffer in the future.
COUNT III:
VIOLATION OF THE EQUAL PAY ACT (“EPA”)

48. Plaintiff hereby incorporates by reference paragraphs one (1) through forty-seven
(47) as if set forth more specifically, paragraph by paragraph.

49, The Equal Pay Act (EPA) prohibits an employer from discriminating against an
employee based on sex by paying lower wages to one sex than the other within the same
establishment for equal work on jobs the performance of which requires equal skill, effort and
responsibility and which are performed under similar working conditions. 29 USC 206(d)(1).

50. Defendant violated the EPA for years by paying her a lower hourly wage than a
similarly situated male.

51. . As adirect and proximate result of Defendants' violation of the EPA, Plaintiff has
suffered loss of income, damage to her professional reputation, depression, emotional distress,
mental anguish, humiliation and embarrassment, and the physical manifestations thereof, and
will so suffer in the future.

DAMAGES

52. Asa direct and proximate result of Defendant’s unlawful employment practices and
violations of her statutory rights by Defendant, Plaintiff IRMA GOLDEN has sustained and
continues to sustain loss of earnings, seniority, fringe benefits, promotional opportunities and/or
upgrading and the accompanying decision-making responsibilities, professional standing and

status in the community, suffered irreparable harm to her career and upward mobility, the loss of
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professional growth and development and the equal opportunity to pursue his gainful occupation,
and will so suffer in the future.

53. Asa direct and proximate result of Defendant’s unlawful employment practices and
violations of statutory law, Plaintiff IRMA GOLDEN has sustained and continues to sustain
damages by way of extreme mental anguish, outrage, emotional distress, severe anxiety about
her future ability to support herself and her family, painful humiliation and embarrassment
among friends and co-workers, undermining of self esteem and motivation and loss of the
ordinary pleasures of everyday life.

RELIEF REQUESTED

54 Plaintiff IRMA GOLDEN respectfully asks this Court for the following equitable
and legal relief:

a, Declare that Plaintiff IRMA GOLDEN has been a victim of illegal age
discrimination, retaliation and violation of the EPA.

b. Award Plaintiff IRMA GOLDEN compensatory damages.

c. Award Plaintiff T[RMA GOLDEN costs and attorney fees.

d. | Grant such additional relief that is appropriate and just.

Respectfully submitted,
HELVESTON & HELVESTON, P.C.

By: /s/ Mary Anne M. Helveston
Mary Anne. M. Helveston,
Dated: September 12, 2017 Attorney for Plaintiffs

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JURY DEMAND
Plaintiff IRMA GOLDEN , by and through her attorneys, hereby demands a trial by jury.

Respectfully Submitted,
HELVESTON & HELVESTON, P.C.

By:/ /s//Mary Anne M, Helveston
Mary Anne M. Helveston (P37653)

Attorney for Plaintiffs

September 12, 2017
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EEOC Form 161 (11/416) U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

DISMISSAL AND NOTICE OF RIGHTS

To: Irma Golden From: Detroit Field Office
1585 Sheffield Drive 477 Michigan Avenue
Ypsilanti, Ml 48198 Room 865

Detroit, Ml 48226

[~ ] On behalf of person(s) aggrieved whose identity is
CONFIDENTIAL (29 CFR §1601.7(a)
EEOC Charge No. EEOC Representative . Telephone No.

Angelique M. Moreno,
471-2017-01970 Investigator (313) 226-2365

THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.

Your allegations did not Involve a disability as defined by the Americans With Disabilities Act.

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The Respondent employs less than the required number of employees or is not otherwise covered by the statutes.

Your charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of the alleged
discrimination to file your charge

The EEOC issues the following determination: Based upon its investigation, the EEOC is unable to conclude that the
information obtained establishes violations of the statutes. This does not certify that the respondent is in compliance with
the statutes. No finding is made as to any other issues that might be construed as having been raised by this charge.

The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.

Other (briefly state}

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~ NOTICE OF SUIT RIGHTS -

(See the additional information altached to this form.)

Title Vil, the Americans with Disabilities Act, the Genetic Information Nondiscrimination Act, or the Age

Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be

lost. (The time limit for filing suit based on a claim under state law may be different.)

Equa! Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 years {3 years)

before you file suit may not be collectible.

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Fnelosures(s) Michelle Eisele, (Date Maited) 7
District Director

cc: .
Lamar Harris

Co-Director
